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ORIGINAL                                                                       FILEDJN OPEN COURT
                                                                                 U.S.D.C.-Atiante"" ;
                                                                                                    -;^




                                                                                      IS 2021 -s
                                                                           JAWS N.HATTEN, Clerk ~
                                                                         By:
                                                                                          Deputy Cferic
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


      UNITED STATES OF AMERICA                      UNDER SEAL

                                                 Cruninal bndictment
             V.



                                                 NO. < a
      VICTOR HILL                                                               0



   THE GRAND JURY CHARGES THAT:

                                      Introduction


      At all times material to this Indictment


      1. The Clayton County Jail (//the jail") was a facility in Jonesboro/ Georgia/


   that housed pretrial detainees awaiting trial and convicted inmates awaiting


   transfer to state prison.


      2. The Clayton County Sheriffs Office (//CCSO//) was the law enforcement


   agency responsible for staffing/ maintaining/ and ruimtng the jail.


      3. Defendant VICTOR HILL was the Clayton County Sheriff and was in


   charge of the CCSO and the administration of the jail.


      4. As a certified law enforcement officer. Defendant HILL regularly received


   training/ including use-of-force framing that instructed force may not be used to


   punish a subject.
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   5. The CCSO/s "Inmate Restraint Chair" policy ("the policy")/ which had


been approved by Defendant HILL/ stated that "a restraint chair may be used by


Security staff to provide safe containment of an inmate exhibiting violent or


uncontrollable behavior and to prevent self-injury/ injury to others or property


damage when other control techniques are not effective/"


   6. Consistent with the Fourteenth Amendment's Due Process Clause/ the


policy emphasized that use of a restraint chair "will never be authorized as a


form of punishment.


                                    Background


                                     Victim T.A.


   7. On February 3,2020, J.A. allegedly assaulted two women during a dispute


about who was next in line at a Clayton County grocery store.


   8. More than three weeks later/ on the afternoon of February 25,2020, J.A.


was arrested by Forest Park Police Department officers and CCSO deputies


without incident. Clayton County records indicate J.A. was unarmed/ not under


the influence of drugs/ and offered no resistance.


   9. A short time later/ J.A. was booked into the jail as a pretrial detainee


pending trial on charges stemming from the grocery store incident.
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   10. During the booking process/ J.A. was escorted by a group of deputies and


correction officers to the fingerprinting area where Defendant HILL confronted


J.A.


   11. During their exchange/ Defendant HILL asked J.A. what J.A. had been


doing in Clayton County on the day of the assault. J.A. replied/ It's a


democracy, sir. It s the United States. Defendant HILL snapped back/ No/ it s


not. Not in my county.


   12. When J.A. asked whether he was entitled to a fair and speedy trial,


Defendant HELL replied/ "Roll that chair around here. You stay out of Clayton


County/ you understand me? You sound like a dummy."


   13. When J.A. again asked whether he was entitled to a fair and speedy trial/


Defendant HILL replied, "You entitled to sit in this chair/ and you're entitled to


get the hell out of my county and don t come back. That s what you're entitled


to. You sound like a damn jackass. Don't you ever put your hand on a woman


like that again. You're fortunate that wasn't my mother or grandmama or you


wouldn't be standing there. Now/ sit there and see if you can get some damn


sense in your head."
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   14. During J.A/s interaction with Defendant HILL/ J.A. was surrounded by


law enforcement personnel at all times, was handcuffed most of the time/ and


never posed a threat to anyone.


   15. Following the interaction/ J.A. was strapped into a restraint chair and left


there for hours per Defendant HILL s orders.


                                   Victim C.H.


   16. On April 26,2020, C.H./ who had just turned seventeen years old/


allegedly vandaUzed his family home during an argument with his mother and


then left.


   17. Shortly thereafter/ a CCSO deputy apprehended C.H. nearby without


incident and turned C.H. over to the custody of the Clayton County Police


Department (//CCPD//). Clayton County records indicate C.H. was unarmed/ not


under the influence of drugs/ and offered no resistance.


   18. The deputy/ a CCSO supervisor, then spoke with Defendant HILL on the


phone/ texted Defendant HILL a photograph of C.H. handcuffed and seated in a


CCPD vehicle/ and had the following text message exchange with Defendant


HILL:

        • Defendant HILL: How old is he?


        • Deputy: 17
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      • Defendant HILL: Chair


   19. A few hours later/ very early on April 27, 2020, C.H. was booked into the


jail as a pretrial detainee pending trial on charges stemming from the incident at


his home.


   20. Although C.H. had been compliant with law enforcement during and


after his arrest and never posed a threat to anyone, he was strapped into a


restraint chair and left there for several hours per Defendant HILUs orders.


                                      Vk:timT.H.


   21. On the morning of April 27,2020, J.H. was arrested by the Jonesboro


Police Department following a domestic disturbance with possible drug use.


   22. At the police station after his arrest/ J.H. fell out of a chair after apparently


pretending to pass out. J.H. was transported to Southern Regional Medical


Center for evaluation.


   23. Wliile being treated at the hospital/ J.H. refused treatment and left the


building.

   24. When Jonesboro police officers later re-apprehended J.H. outside his


grandmother's house that afternoon/ J.H. did not cooperate or comply with


officers' commands and had to be carried down some steps and placed into a
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patrol vehicle. Clayton County records indicate that J.H. was unarmed/ not


under the influence of drugs/ and offered no resistance.


   25. In the patrol vehicle/ J.H. again appeared to feign unconsciousness but


offered no resistance.


   26. Shortly thereafter/ still during the afternoon of April 27, 2020, J.H. was


booked into the jail as a pretrial detainee pending trial on charges stemming


from the domestic disturbance.


   27. Upon J.H. s his arrival at the jail/ although J.H. was not combative and


never posed a threat to anyone/ J.H. was strapped into a restraint chair and left


there for several hours per Defendant HILL'S orders.


   28. During his time in the restraint chair/ J.H. was not allowed to go to the


restroom and urinated on the restraint chair.


   29. While C.H. and J.H. were both strapped in restraint chairs near each


other/ Defendant HILL confronted them. Referring to C.H./ Defendant HILL


said/ "You know what he did yesterday? He went and destroyed his mother's


house yesterday. That's what this asshole right here did.


   30. Addressing both C.H. and J.H., Defendant HILL then opined/ "\ think


both of y/all are just assholes that need a man to kick y/all in the ass and y/all be


okay. I don't think y/all are bad people/'
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   31. Still addressing both C.H. and J.H./ Defendant HILL added/ //Now/ I'm


going to tell you something. If I hear about you (C.H.) messing up your mama s


house again/ if I hear about you (J.H.) fighting cops and faking and going to the


Southern Regional and then walking out and pulling out the IV, I'm a sit your


ass in that chair for sixteen hours straight. Do you understand me? I need to


hear from both of y/all that y/all not gonna show y/all's ass in my county no


more/'



                                   Victim G.H.


   32. G.H. and a CCSO deputy had a payment dispute over some landscaping


work G.H. did for the deputy m Butts County/ Georgia. The work and dispute


were unrelated to the deputy's employment with the CCSO. After learning


about the dispute/ Defendant HILL called G.H. on April 23, 2020.


   33. During the call/ Defendant HILL identified himself as the Clayton County


Sheriff and asked G.H. why he was harassing his deputy. G.H. replied that


Defendant Hill should tell his deputy to pay his bill and added/ "you can go fuck

yourself. The call then ended.


   34. Unsure whether the caller had actually been the Clayton County Sheriff/


G.H. used FaceTime to call back several times until Defendant HILL answered


and removed a mask he was wearing.


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   35. After the FaceTime calls/ Defendant HILL texted G.H./ warning him not to


call or text anymore. G.H. responded via text. So this is Victor Hill correct.


Defendant HILL responded with a second text warning for G.H. not to call or


text him anymore.


   36. Although G.H. did not call or text again/ Defendant HILL the next day


instructed a CCSO deputy to swear out an arrest warrant against G.H. for


harassing communications.


   37. The next day, April 24,2020, Defendant HILL texted G.H./ //[T]his is


Sheriff Victor HiU. We have a warrant for your arrest. Would you like to turn


yourself in, or have my Deputies find you? G.H. did not respond.


   38. The next morning/ April 25,2020, Defendant HILL again texted G.H./ "My


Deputies are actively looking for you. We have not and will not agree for you to


turn yourself in when you want to. Turn yourself in today/'


   39. Meanwhile/ Defendant HILL had sent a fugitive squad armed with


handguns and AR-15 rifles to Butts County in an attempt to arrest G.H. on the


misdemeanor arrest warrant.


   40. After retaining a lawyer/ G.H. turned himself in at the CCSO during the


evening of April 27,2020. Clayton County records indicate that G.H. was


unarmed, not under the influence of drugs/ and offered no resistance.


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   41. Shortly thereafter, G.H. was booked into the jail as a pretrial detainee


pending trial on the harassing communications charges.


   42. Sm-veillance footage from the jail shows G.H. interacting with jail


personnel for more than half an hour/ during which time he appeared


cooperative and compliant/ before Defendant HILL arrived and confronted him.


   43. Immediately upon Defendant HILL s arrival/ although G.H. was


surrounded by law enforcement personnel/ remained compliant/ and never


posed a threat to anyone/ G.H. was strapped into a restraint chair and left there


for several hours per Defendant HILL'S orders.


                                     Count One


   44. The Grand Jury re-alleges and incorporates by reference Paragraphs 1


through 43 of this Indictment as if fully set forth here.


   45. On or about February 25,2020, in the Northern District of Georgia/


Defendant VICTOR HILL, while acting under color of law/ willfully deprived

J.A. of the right/ secured and protected by the Constitution and laws of the


United States, not to be deprived of liberty without due process of law/ which


includes the right to be free from the use of unreasonable force by law


enforcement officers amounting to punishment Specifically/ Defendant HILL


caused J.A. to be strapped into a restraint chair for a period exceeding that
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justified by any legitimate nonpurdtive government purpose. This offense


caused physical pain and resulted in bodily injury to J.A.


   All in violation of Title 18, United States Code/ Section 242.


                                        Count Two


   46. The Grand Jury re-alleges and incorporates by reference Paragraphs 1


through 43 of this Indictment as if fully set forth here.


   47. On or about April 27,2020, in the Northern District of Georgia/ Defendant


VICTOR HILL/ while acting under color of law/ willfully deprived C.H. of the


right/ secured and protected by the Constitution and laws of the United States/


not to be deprived of Uberty without due process of law/ which includes the right


to be free from the use of unreasonable force by law enforcement officers


amounting to punishment. Specifically, Defendant HILL caused C.H. to be


strapped into a restraint chair for a period exceeding that justified by any


legitimate nonpunitive government purpose. This offense caused physical pain


and resulted in bodily injury to C.H.


   All in violation of Title 18, United States Code/ Section 242.


                                      Count Three


   48. The Grand Jury re-alleges and incorporates by reference Paragraphs 1


through 43 of this Indictment as if fully set forth here.


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   49. On or about April 17, 2020, in the Northern District of Georgia/ Defendant


VICTOR HILL/ while acting under color of law, willfully deprived J.H. of the

right, secured and protected by the Constitution and laws of the United States/


not to be deprived of liberty without due process of law/ which includes the right


to be free from the use of unreasonable force by law enforcement officers


amounting to punishment. Specifically, Defendant HILL caused J.H. to be


strapped into a restraint chau- for a period exceeding that justified by any


legitimate nonpunitive government purpose. This offense caused physical pain


and resulted in bodily injury to J.H.


   All in violation of Title 18, United States Code/ Section 242.


                                        Count Four


   50. The Grand Jury re-alleges and incorporates by reference Paragraphs 1


through 43 of this Indictment as if fully set forth here.


   51. On or about April 27,2020, in the Northern District of Georgia/ Defendant


VICTOR HILL/ while acting under color of law/ willfully deprived G.H. of the


right/ secured and protected by the Constitution and laws of the United States/


not to be deprived of liberty without due process of law/ which includes the right


to be free from the use of unreasonable force by law enforcement officers


amounting to punishment. Specifically/ Defendant HILL ordered G.H. to be


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strapped into a restraint chair for a period exceeding that justified by any


legitimate nonpunitive government purpose. This offense caused physical pain


and resulted in bodily injury to G.H.


   All in violation of Title 18, United States Code/ Section 242.



                                          A                                    BILL




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